                                                           Hearing Date: March 31, 2020
                                                                  Time: 10:00 a.m.
ROSEN & ASSOCIATES, P.C.
Counsel to the Chapter 7 Trustee
747 Third Avenue
New York, NY 10017-2803
(212) 223-1100
Sanford P. Rosen
Paris Gyparakis

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 In re:
                                                        Chapter 7
 FIRST WIVES ENTERTAINMENT LIMITED
 LIABILITY COMPANY,
                                                        Case No. 16–11345 (RG)
                       Debtor.
 RONALD L. COHEN, ESQ., Chapter 7 Trustee of
 the estate of FIRST WIVES ENTERTAINMENT
 LIMITED LIABILITY COMPANY,

                       Plaintiff,                       Adv. Proc. No. 18–01644 (RG)
 v.

 NASSAR HASSAN,

                       Defendant.



             NOTICE OF TRUSTEE’S MOTION PURSUANT TO FED. R.
          BANKR. P. 9019 FOR APPROVAL OF SETTLEMENT AGREEMENT

             PLEASE TAKE NOTICE that upon the annexed motion dated March 3, 2020 (the

“Motion”) of Ronald L. Cohen, Esq., the Chapter 7 Trustee (the “Trustee”) of the estate of First

Wives Entertainment Limited Liability Company (the “Debtor”), the undersigned will move at a

hearing before the Honorable Robert E. Grossman, United States Bankruptcy Judge, in Courtroom

501 of the United States Bankruptcy Court for the Southern District of New York, Alexander

Hamilton Custom House, One Bowling Green, New York NY 10004, on March 31, 2020 at 10:00
a.m. (prevailing Eastern Time), or as soon thereafter as counsel can be heard (the “Hearing

Date”), for the entry of an order approving the settlement agreement by and between the Trustee

and Defendant Nassar Hassan as set forth in the Motion.

               PLEASE TAKE FURTHER NOTICE that responses or objections to the Motion,

if any, shall conform to the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy

Rules for the Southern District of New York, shall set forth the grounds for such response or

objection with specificity, and shall be filed with this Court electronically in accordance with

General Order M-399 (General Order M-399 and the Procedures for Filing, Signing and

Verification of Documents by Electronic Means can be found at http://www.nysb.uscourts.gov,

the official website for the Bankruptcy Court), by registered users of this Court’s filing system,

and by all other parties in interest on a CD-ROM or other electronic media, preferably in PDF or

any Windows-based word processing format, with a hard copy delivered directly to Judge

Grossman’s chambers, and served in accordance with General Order M-399 upon: (i) Rosen &

Associates, P.C., counsel to the Trustee, 747 Third Avenue, New York, NY 10017, Attn: Sanford

P. Rosen, Esq.; (ii) Stevens & Lee, P.C., counsel to Nassar Hassan, 485 Madison Avenue, 20th

Floor, New York, NY 10022, Attn: Constantine D. Pourakis, Esq.; (iii) the Office of the United

States Trustee, 201 Varick Street, Suite 1006, New York, NY 10014; and (iv) all parties that have

requested notice pursuant to Bankruptcy Rule 2002, so as to be received no later than March

24, 2020 at 5:00 p.m. (prevailing Eastern Time).




                                    [signature page follows]




                                                2
Dated: New York, New York
       March 3, 2020


                                ROSEN & ASSOCIATES, P.C.
                                Counsel to the Chapter 7 Trustee

                                By: /s/ Sanford P. Rosen
                                        Sanford P. Rosen
                                747 Third Avenue
                                New York, NY 10017-2803
                                (212) 223-1100




                            3
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 In re:
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                      Plaintiff,                        Adv. Proc. No. 18–01644 (RG)
 v.

 NASSAR HASSAN,

                      Defendant.



            TRUSTEE’S MOTION PURSUANT TO FED. R. BANKR. P. 9019
                FOR APPROVAL OF SETTLEMENT AGREEMENT

TO THE HONORABLE ROBERT E. GROSSMAN,
UNITED STATES BANKRUPTCY JUDGE:

              Ronald L. Cohen, Esq., the Chapter 7 Trustee (the “Trustee”) of the estate of First

Wives Entertainment Limited Liability Company (the “Debtor”), through counsel, Rosen &

Associates, P.C., submits this motion (the “Motion”) for the entry of an order, pursuant to 11

U.S.C. § 105(a) and Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), approving the Settlement Agreement (defined below) by and between the Trustee as
plaintiff, and Nassar Hassan, as defendant (the “Defendant” and together with the Trustee, the

“Parties”) in the above-referenced adversary proceeding, and respectfully represents as follows:

               JURISDICTION, VENUE AND STATUTORY PREDICATE

               1.     This Court has jurisdiction to consider this Motion as a core proceeding

pursuant to 28 U.S.C. §§ 157 and 1334. Venue of these proceedings is proper in this District

pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicate for the relief requested herein is

11 U.S.C. § 105(a), as supplemented by Rule 9019 of the Bankruptcy Rules.

                              PROCEDURAL BACKGROUND

               2.     On May 11, 2016 (the “Filing Date”), Aruba Productions, LLC, Arnold

Venture Fund, LP and Edward H. Arnold (collectively, the “Petitioning Creditors”) filed an

involuntary petition for relief against the Debtor under chapter 7 of title 11 of the United States

Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), in the United States Bankruptcy Court

for the Southern District of New York (the “Bankruptcy Court”).

               3.     On June 27, 2016, the Debtor filed a motion to convert the involuntary

chapter 7 case to a case under chapter 11 of the Bankruptcy Code [Doc. No. 5], and the Court

granted the motion by order dated August 23, 2016 [Doc. No. 11].

               4.     On August 8, 2017, the Petitioning Creditors filed a motion to dismiss or

convert the Debtor’s chapter 11 case pursuant section 1112(b) of the Bankruptcy Code [Doc. No.

105], and the Court granted the motion by order dated September 25, 2017 [Doc. No. 129],

converting the case to one under chapter 7 of the Bankruptcy Code.

               5.     Consequently, the meeting of creditors pursuant to section 341 of the

Bankruptcy Code (the “341 Meeting”) was scheduled by the Clerk on November 8, 2017, and




                                                2
later adjourned to December 11, 2017 to allow creditors to elect a trustee pursuant to section 702(b)

of the Bankruptcy Code.

               6.      At the adjourned 341 Meeting held on December 11, 2017, Ronald L. Cohen

was elected Trustee.

               7.      On December 26, 2017, the Office of the United States Trustee filed the

Report of Undisputed Election of Chapter 7 Trustee [Doc. No. 151] with respect to Mr. Cohen’s

election, and Mr. Cohen has since duly qualified, and is now serving in such capacity.

                                  FACTUAL BACKGROUND

     A.        The Transfer

               8.      Prior to the Petition Date, the Debtor entered into an agreement (the

“Licensing Agreement”) with Viacom Consumer Products Inc., a subsidiary of Paramount

Pictures Corporation, which was the producer and distributor of the theatrical motion picture: The

First Wives’ Club, based on the novel by Olivia Goldsmith.

               9.      Under the terms of the Licensing Agreement, the Debtor was granted the

right to “make, write, and compose one dramatico-musical live stage adaptation” of The First

Wives’ Club.

               10.     However, the Debtor failed to perform its obligations under the Licensing

Agreement and never produced The First Wives’ Club musical. The Licensing Agreement expired

on December 31, 2017, approximately three months after the case was converted to a case under

chapter 7 of the Bankruptcy Code.

               11.     On September 26, 2018, the Trustee filed a complaint (the “Complaint”)

[Adv. Proc. Doc. No. 1] against the Defendant commencing the adversary proceeding in this Court

styled, Cohen v. Hassan (Adv. Proc. No. 18–01644) (the “Adversary Proceeding”).


                                                 3
                12.    Through the Complaint, the Trustee sought to avoid and recover a transfer

of $500,000 on or about October 22, 2014 (the “Transfer”) by the Debtor to the Defendant as a

fraudulent conveyance under sections 548 and 550 of the Bankruptcy Code and for related relief.

See COMPL. ¶ 31.

                13.    On December 28, 2018, the Defendant filed an answer to the Complaint,

denying the Trustee’s substantive allegations. See ANS. [Adv. Proc. Doc. No. 7].

     B.         The Settlement Agreement

                14.    During the course of discovery, the Parties engaged in lengthy and detailed

discussions regarding the facts and law underlying the claims and defenses asserted in the

pleadings. Both Parties engaged experts who produced reports relating to the Debtor’s solvency at

the time the Transfer was made.

                15.    The Defendant asserted that the Debtor was not insolvent at the time the

Transfer mas made, because, inter alia, the loan made by Edward H. Arnold (a Petitioning

Creditor) of approximately $1.6 million (the “Arnold Transaction”), despite having been

accounted for as debt, lacks many of the characteristics typical of loan obligations (i.e., a signed

instrument, a market rate of interest, a maturity date, a repayment schedule and security or

collateral), and thus should be recharacterized as equity.

                16.    Further, the Defendant argued that, under the “indirect benefit theory,” the

Debtor received reasonably equivalent value on account of the Transfer because the Debtor had

credited the amount of the Transfer to its obligation to a third–party creditor. However, the Trustee

has disputed this assertion, and confirmed that the Debtor’s books and records do not corroborate

this defense.




                                                 4
                  17.      Ultimately, the Parties’ discussions evolved into settlement negotiations,

which culminated in the execution of the Settlement Agreement and Release (the “Settlement

Agreement”) on November 7, 2019. A copy of the Settlement Agreement is annexed hereto as

Exhibit B.

                  18.      The salient terms1 of the Settlement Agreement are as follows:

                                i.    The Defendant shall pay the Trustee, in full and final settlement
                                      and release of the claims asserted in the Adversary Proceeding, the
                                      sum of $150,000 (the “Settlement Payment”), the first $75,000
                                      of which (the “Initial Payment”) to be paid within two business
                                      days of December 31, 2019, and the remaining $75,000 to be paid
                                      in twelve equal installments (such monthly payments, the
                                      “Installment Payments”) commencing within two business days
                                      of February 1, 2020.2 See Ex. B ¶ 2.

                               ii.    The Defendant shall deliver to the Trustee an Affidavit of
                                      Confession of Judgment in the amount of $500,000 which the
                                      Trustee shall maintain in escrow. In the event the Defendant
                                      defaults in his obligation to make the Initial Payment or any of the
                                      Installment Payments when due, such default, after notice of the
                                      default and seven days thereafter to cure same, shall constitute
                                      authority for the Trustee to file the Affidavit of Confession of
                                      Judgment with the Bankruptcy Court and a judgment shall be
                                      entered against the Defendant in the amount of $500,000 less an
                                      amount equal to the payments that shall have been made as of the
                                      date of such default. See Ex. B ¶ 3.

                              iii.    Upon the Trustee’s receipt of the Settlement Payment, the Parties
                                      will exchange complete mutual releases. See Ex. B ¶¶ 4-5.

                              iv.     Upon the Trustee’s receipt of the Settlement Payment, the Parties
                                      will file of a notice of dismissal of the Adversary Proceeding. See
                                      Ex. B ¶ 6.




1
  Specific reference to the Settlement Agreement should be made for the complete terms thereof. If there are any
inconsistencies between the terms of the Settlement Agreement and the summary set forth herein, the terms of the
Settlement Agreement shall govern.
2
  Notwithstanding the provisions in paragraph ten (10) of the Settlement Agreement, the Parties have agreed in writing
to extend the time to effectuate the terms of the Settlement Agreement from December 31, 2019 to April 30, 2020.
                                                          5
                                     RELIEF REQUESTED

               19.      After investigating the Debtor’s financial affairs and analyzing the defenses

asserted by the Defendant, the Trustee has concluded that the proposed Settlement Agreement

represents a sound exercise of his business judgment and is in the best interest of the estate and

creditors.

               20.      By this Motion, the Trustee seeks the entry of an order, substantially in the

form annexed hereto as Exhibit A, approving the Settlement Agreement pursuant to Bankruptcy

Rule 9019(a), and submits that, for the reasons outlined below, the Settlement Agreement should

be approved by the Court.

                                           DISCUSSION

               21.      Bankruptcy Rule 9019(a) provides, in relevant part, that “on motion by the

trustee and after notice and a hearing, the court may approve a compromise or settlement.” FED.

R. BANKR. P. 9019(a).

               22.      As a general matter, “settlements and compromises are favored in

bankruptcy, as they minimize costly litigation and further parties’ interests in expediting the

administration of the bankruptcy estate.” In re Dewey & LeBoeuf LLP, 478 B.R. 627, 641–642

(Bankr. S.D.N.Y. 2012); see also Motorola, Inc. v. Official Comm. of Unsecured Creditors (In re

Iridium Operating LLC), 478 F.3d 452, 455 (2d Cir. 2007) (settlements “help clear a path for the

efficient administration of the bankrupt estate”).

               23.      “Although courts have discretion to approve settlements, the business

judgment of the [trustee] in recommending the settlement should be factored into the court’s

analysis.” In re MF Global Inc., No. 11-2790 MG, 2012 WL 3242533, at *5 (Bankr. S.D.N.Y.

Aug. 10, 2012).

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                24.    In ruling on a motion pursuant to Bankruptcy Rule 9019(a), the court must

find that the proposed settlement is fair and equitable and is in the best interests of the estate. See

Protective Comm. for Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S.

414 (1968) (hereinafter “TMT Trailer”); Air Line Pilots Ass’n v. Am. Nat’l Bank and Trust Co. of

Chicago (In re Ionosphere Clubs, Inc.), 156 B.R. 414, 426 (S.D.N.Y. 1993), aff’d, 17 F.3d 600

(2d Cir. 1994). The court may exercise its discretion “in light of the general public policy favoring

settlements.” In re Hibbard Brown & Co., 217 B.R. 41, 46 (Bankr. S.D.N.Y. 1998).

                25.    In In re Iridium Operating LLC, the Second Circuit Court of Appeals directs

courts to consider the following factors (the “Iriduim Factors”) in determining whether to approve

a settlement:

                       (i) the balance between the litigation’s possibility of
                       success and the settlement’s future benefits; (ii) the
                       likelihood of complex and protracted litigation, ‘with
                       its attendant expense, inconvenience, and delay,’
                       including the difficulty in collecting on the
                       judgment; (iii) ‘the paramount interests of the
                       creditors,’ including each affected class’s relative
                       benefits ‘and the degree to which creditors either do
                       not object to or affirmatively support the proposed
                       settlement’; (iv) whether other parties in interest
                       support the settlement; (v) the ‘competency and
                       experience of counsel’ supporting, and ‘[t]he
                       experience and knowledge of the bankruptcy court
                       judge’ reviewing, the settlement; (vi) ‘the nature and
                       breadth of releases to be obtained by officers and
                       directors’; and (vii) ‘the extent to which the
                       settlement is the product of arm’s length bargaining.

In re Iridium Operating LLC, 478 F.3d 452, 462 (2d Cir. 2007) (internal citation omitted).

                26.     While a court must evaluate “all . . . factors relevant to a full and fair

assessment of the wisdom of the proposed compromise,” (TMT Trailer, 390 U.S. at 424) there is

no requirement for the court to conduct a “mini-trial” of the claims being settled or a full

                                                  7
independent investigation. Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d Cir.

1983).

               27.      Rather, a court should “canvass the issues and see whether the settlement

‘fall[s] below the lowest point in the range of reasonableness.” Id.; accord In re Drexel Burnham

Lambert Grp., Inc., 134 B.R. at 505 (Bankr. S.D.N.Y. 1991).

               28.      Here, a review of the relevant Iridium Factors strongly supports approval of

the Settlement Agreement.

                     (i) Likelihood of Success on the Merits

               29.      The first of the Iridium Factors reflects the Supreme Court's view that a

court should form an “intelligent and objective opinion” of the probability of success in the

underlying litigation. TMT Trailer, 390 U.S. at 424.

               30.      As the court stated in In re Adelphia, “[T]here is a range of reasonableness

with respect to a settlement – a range which recognizes the uncertainties of law and fact in any

particular case and the concomitant risks and costs necessarily inherent in taking any litigation to

completion.” See In re Adelphia Commc‘n Corp., 327 B.R. 143, 159 (Bankr. S.D.N.Y 2005)

(quoting Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972)).

               31.      Here, the Trustee recognizes that the Defendant’s expert report supports the

contention that under applicable debt recharacterization authority in this circuit, the Arnold

Transaction may indeed be determined to be an equity investment, as opposed to debt. Such

recharacterization would render the Debtor solvent at the time of the Transfer and defeat the claims

asserted by the Trustee in the Complaint. See In re Best Prods. Co., Inc., 168 B.R. 35, 54 (Bankr.

S.D.N.Y. 1994) (approving settlement after concluding with respect to solvency “that there would




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be potentially credible evidence on both sides of the issue of solvency with the result that ‘this

would be a very, very hard case to predict”’).

               32.      The Trustee submits that this first Iridium Factor clearly weighs in favor of

approving the Settlement Agreement. See In re Adelphia, 368 B.R. at 226 (“‘In administering

[liquidation] proceedings in an economical and practical manner it will often be wise to arrange

the settlement of claims as to which there are substantial and reasonable doubts.”’) (quoting TMT

Trailer, 390 U.S. at 424).

                     (ii) Likelihood of Complex, Costly and Protracted Litigation

               33.      In evaluating the reasonableness of a settlement, a court should “form an

educated estimate of the complexity, expense, and likely duration of such litigation, the possible

difficulties of collecting on any judgment which might be obtained, and all other factors relevant

to a full and fair assessment of the wisdom of the proposed compromise.” TMT Trailer, 390 U.S.

at 424.

               34.      As noted above, the Trustee acknowledges that the Arnold Transaction

indeed lacks certain of the characteristics typical of a loan obligation and could be recharacterized

as equity, which would render the Debtor solvent at the time of the Transfer.

               35.      Consequently, the Trustee submits that approval of the Settlement

Agreement is clearly supported by the first and second Iridium Factors.

                     (iii) The Paramount Interest of Creditors

               36.      The “paramount interest of creditors” generally reflects not only the desire

to recover the greatest amount upon the creditors’ allowed claims, but also their competing desire

that recovery should occur in the least amount of time possible. See In re Marples, 266 B.R. 202

(Bankr. D. Idaho 2001).


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               37.      The Trustee submits that, in light of the facts obtained during discovery, the

proposed Settlement Agreement furthers the interests of all creditors and parties-in-interest to the

estate by preventing any diminution in amounts available for distribution that would occur by the

expenditure of additional estate resources that cannot be justified on a cost-benefit analysis.

                     (iv) Competency of Counsel

               38.      The Trustee submits that throughout this case, both Parties have been

represented by skilled and experienced bankruptcy counsel, knowledgeable about the types of

issues that would arise in any litigation of claims of this nature. Courts have given this factor

considerable weight. See In re Chemtura Corp., 439 B.R. 561, 608 (Bankr. S.D.N.Y. 2010)

(holding that settlement easily satisfied the Iridium requirements, in part because “[n]o argument

has been made, nor could any argument be made, that counsel who put the Settlement together

were anything less than highly skilled in their craft, and knowledgeable in the considerations

underlying a settlement of this character”).

                     (v) Nature and Breadth of Releases to be Obtained

               39.      The Parties have agreed, as part of the Settlement Agreement, to provide

consensual releases resolving all of the underlying disputes with finality, thereby preventing

potential collateral litigation in the future that would upset the core terms of the Settlement

Agreement. See Ex. B ¶¶ 3-4. These releases are an integral part of the Settlement Agreement and

indeed, customary in any settlement. See, e.g., In re Metromedia Fiber Network, Inc., 416 F.3d

136, 142 (2d Cir. 2005) (“Nondebtor releases may also be tolerated if the affected creditors

consent”); Kenton County Bondholders Comm. v. Delta Air Lines, Inc., 374 B.R. 516, 526

(S.D.N.Y. 2007) (finding bankruptcy court's approval of third party releases in settlement

agreement was appropriate where such releases were “narrowly drawn and [were] necessary to


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prevent relitigation of precisely the claims that were negotiated and resolved by the Settlement

Agreement” and “comprised valuable consideration for [the creditors] in return for their agreement

to give up” claims against the debtor); In re MSR Resort Golf Course LLC, Case No. 11-10372

(Bankr. S.D.N.Y. July 17, 2011) (order approving settlement providing for mutual releases

between debtors and non-debtor third parties); In re Lehman Bros. Holdings Inc., Case No. 08-

13555 (Bankr. S.D.N.Y. Dec. 16, 2010) (same). Moreover, the Trustee believes that without the

consensual releases, the Defendant would not have agreed to the terms of the Settlement

Agreement.

                      (vi) Extent to Which the Proposed Settlement is the Product of Arm’s-
                          Length Negotiations

                40.      Finally, the terms and conditions of the Settlement Agreement are the

product of arms-length negotiations, proposed and entered in the utmost good faith. See In re

Charter Communc‘ns, 419 B.R. at 257 (“The Court is satisfied that the [settlement] represents the

considered judgment of economically motivated parties who were negotiating at arm's-length to

reach the best settlement that could be achieved under the circumstances.”)

                41.      Accordingly, the Trustee submits that the proposed settlement amply

satisfies this final Iridium Factor as well.

                                           CONCLUSION

                42.      In light of the foregoing, the Trustee submits that the Settlement Agreement

is fair, equitable and in the best interests of the estate and should be approved.

                                               NOTICE

                43.      The Trustee will give notice of this Motion and the prefixed Notice of

Motion by causing a copy to be served via first-class mail upon: (i) the Office of the United States


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Trustee, 201 Varick Street, Suite 1006, New York, NY 10014; (ii) all creditors of the Debtor; and

(iii) all entities that have requested notice and service of papers pursuant to Bankruptcy Rule 2002.

               WHEREFORE, the Trustee respectfully requests the entry of an order,

substantially in the form annexed hereto as Exhibit A, granting the relief requested herein and such

other and further relief as the Court deems just and proper.

Dated: New York, New York
       March 3, 2020


                                                      ROSEN & ASSOCIATES, P.C.
                                                      Counsel to the Chapter 7 Trustee

                                                      By: /s/ Sanford P. Rosen
                                                              Sanford P. Rosen
                                                              Paris Gyparakis
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                                                      New York, NY 10017-2803
                                                      (212) 223-1100




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